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 5                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF WASHINGTON
 6

 7   UNITED STATES OF AMERICA,                           No.    CR-12-6053-EFS-2

 8                                    Plaintiff,
                                                         ORDER GRANTING MOTION TO MODIFY
 9                     v.                                CONDITIONS OF RELEASE

10   MAYRA J. LEYVA REYES (2),

11                                    Defendant.

12

13           Before the Court, without oral argument is Defendant Mayra Leyva

14   Reyes’ Motion to Modify Conditions of Release, ECF No. 750.                          Defendant

15   seeks    to   be       removed   from   GPS   monitoring      and     curfew   restrictions.

16   Currently, in addition to other restriction as part of the conditions

17   of release, Defendant must wear a GPS monitoring device and has to

18   maintain      a    curfew.        Defendant     now    requests      both   restrictions    be

19   removed.          To date, the U.S. Attorney’s Office (USAO) and the U.S.

20   Probation Office have not filed a response.                      However, Defense Counsel

21   John Crowley represents that U.S. Probation Officer Curt Hare and

22   Assistant         United    States      Attorney      Stephanie      Van    Marter   have   no

23   objection         to   Defendant’s      release     from   GPS      monitoring   and    curfew

24   reporting.         Having reviewed the pleadings and the file in this matter,

25   the Court is fully informed and finds good cause to grant Defendant’s

26   motion.




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 1           Accordingly, IT IS HEREBY ORDERED:

 2           1.       Defendant’s Motion to Modify Conditions of Release, ECF No.

 3                    750, is GRANTED.

 4           2.       Defendant        is    RELEASED         from    GPS      monitoring   and   curfew

 5                    reporting.

 6           3.       All other provisions in the Order Setting Conditions of

 7                    Release, ECF No. 187, remain in effect.

 8           IT IS SO ORDERED.              The Clerk’s Office is directed to enter this

 9   Order and provide copies to all counsel and the U.S. Probation Office.

10           DATED this 28th           day of August 2013.

11
                                       s/ Edward F. Shea
12                                         EDWARD F. SHEA
                                Senior United States District Judge
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